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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ROBERT DEDMON,                               §
    Plaintiff                                §
                                             §
v.                                           §        CIVIL ACTION NO.
                                             §          4:21-cv-03371
SHELL EXPLORATION &                          §
PRODUCTION COMPANY AND                       §
SHELL TRADING SERVICES                       §
COMPANY,                                     §        JURY DEMANDED
    Defendants                               §

 FIRST AMENDED TRIAL EXHIBIT LIST OF DEFENDANTS SHELL EXPLORATION &
      PRODUCTION COMPANY AND SHELL TRADING SERVICES COMPANY

 No.     Description                               Offer   Object   Date     Date
                                                                    Admit    N/Adm
 1.      2014.04.03 Email re: Open Power Sales
         Position
         (ShellDedmon_000705-000707)
 2.      Email re: JG5 Inside Sales
         (ShellDedmon_000714-000715)
 3.      Email re: JG5 Inside Sales
         (ShellDedmon_000716-000717)
 4.      2014.04.25 Email re: JG5 Inside Sales
         (ShellDedmon_000738-000741)
 5.      2014.04.26 Email re: summary of
         conversation
         (ShellDedmon_000744-000745)
 6.      2014.05.01 Email re: Shell EO
         (ShellDedmon_000753)
 7.      2014.06.11 Email re: Shell EO
         (ShellDedmon_000783-000785)
 8.      2014.05.12 Email re: Shell Inside Sales
         Recruiting
         (ShellDedmon_000802-000803)
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No.   Description                                Offer   Object   Date     Date
                                                                  Admit    N/Adm
9.    Selected Robert Dedmon pay records
      (ShellDedmon_1109, 1110, 1137, 1160,
      1184, 1218, 1245, 1272, 1297, 1322,
      1344)
10.   Selected Michael Deley pay records
      (ShellDedmon_1356, 1379, 1402, 1437,
      1464, 1491, 1516, 1541, 1550)
11.   Selected Douglas Hund pay records
      (ShellDedmon_2408-2409, 2453-2454,
      2498-2499, 2567-2568, 2619-2620,
      2672-2673, 2721-2722, 2770-2771,
      2787-2788)
12.   2014.02.19 Email re: interview
      (ShellDedmon_000804-000805)
13.   Selected Susan Smith pay records
      (ShellDedmon_003770, 3772)
14.   Selected Patrick Frnka pay records
      (ShellDedmon_001572, 1597, 1566,
      1609, 1675, 1737, 1739, 1954, 4733)
15.   Selected Jim Barker pay records
      (ShellDedmon_004723, 4724)
16.   2014.06.19 Email re: invitation to apply
      (Dedmon_000838-000848)
17.   Dedmon’s Goals & Performance
      Appraisal Reports
      (ShellDedmon_004292-004328)
18.   2014.07.11 Shell letter to Dedmon re:
      recruiting process
      (ShellDedmon_000113-000116)
19.   2014.07.14 Email re: Heads up
      (Dedmon 000803)
20.   2014.07.24 Email re: Confirmation of
      Clearance (Dedmon 000769)
21.   2014.01.17 Email re: (no subject)
      (Dedmon 000762)
22.   2014.01.24 Email re: invitation from
      Carl Williams for a job opportunity at
      Shell (Dedmon 000811)
23.   2014.02.03 Email re: Robert Dedmon
      Resume (Dedmon 000827)


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No.   Description                             Offer   Object    Date     Date
                                                                Admit    N/Adm
24.   2014.01.25 Email re: Thank you for
      your application to Shell
      (Dedmon 000834)
25.   2014.02.01 Email re: Sales
      Representative (Dedmon 000850)
26.   2014.02.19 Email re: Interview
      (Dedmon 000805)
27.   2014.02.12 Email re: Sales
      Representative (Dedmon 000862)
28.   2014.02.19 Email re: Thank You
      (Dedmon 000835)
29.   2014.04.23 Email re: (no subject)
      (Dedmon 000766)
30.   2014.07.10 Email re: Follow up
      (Dedmon 000801)
31.   2014.08.07 Email re: First Day
      Instructions (Dedmon 000792)
32.   2021.04.20 Email re: 2014 Tier 1
      Structure (ShellDedmon_000064)
33.   2014.04.24 Email re: Power Sales
      Representative (ShellDedmon_000726)
34.   2014.04.15 Email re: JG5 Sales Rep
      (ShellDedmon_000813)
35.   2014.04.23 Email re: JG5 Sales Rep
      (ShellDedmon_000722)
36.   2014.04.24 Email re: Power Sales
      Representative
      (ShellDedmon_000730-000731)
37.   2014.04.25 Email re: JG6 Inside Sales
      (ShellDedmon_000732)
38.   2014.04.24 Email re: Power Sales
      Representative (ShellDedmon_000725)
39.   2014.04.25 Email re: Power Sales
      Representative
      (ShellDedmon_000735-000736)
40.   2014.04.29 Email re: Summary of
      conversation (ShellDedmon_000751)
41.   2014.05.01 Email re: Shell EO
      (ShellDedmon_000753)



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No.   Description                                Offer    Object    Date     Date
                                                                    Admit    N/Adm
42.   2014.05.19 Email re: Power Sales
      Representative JG6
      (ShellDedmon_000758)
43.   2014.05.19 Email re: Power Sales
      Representative JG6
      (ShellDedmon_000768)
44.   2014.06.04 Email re: question
      (ShellDedmon_000778)
45.   Shell 2014 job grade ranking email
      (ShellDedmon_000863-000866)
46.   Shell 2015 job grade transfer form
      (ShellDedmon_000099-000100)

                                               Respectfully submitted,


                                               /s/ Marlene C. Williams
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                                               SMOAK & STEWART P.C.
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                                               ATTORNEYS FOR DEFENDANTS




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                             CERTIFICATE OF SERVICE

        I hereby certify that on March 6, 2025, I electronically submitted the foregoing
document with the clerk of the court for the U.S. District Court, Southern District of Texas
– Houston Division, using the electronic case files system of the court. The electronic case
files system sent a “Notice of Electronic Filing” to the following CM/ECF participants:

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                                                 /s/ Marlene C. Williams
                                                 Marlene C. Williams




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